                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                             DOCKET NO. 3:16-cr-100-MOC

 UNITED STATES OF AMERICA,                       )
                                                 )
                                                 )
                                                 )
 Vs.                                             )                       ORDER
                                                 )
 ERICK YAHIR RODRIGUEZ-                          )
 SALOMON,                                        )
                                                 )
                  Defendant.                     )



         THIS MATTER is before the Court on Defendant’s Pro Se Motion to Reduce Sentence

Pursuant to USSC Amendment 821. (Docs. No. 185, 186). Because Defendant is not eligible for a

sentence reduction under Amendment 821, the Court will deny Defendant’s motion.

   I.       Background

         A federal grand jury charged Defendant by indictment with methamphetamine trafficking

conspiracy (Count One), a violation of 21 U.S.C. § 841(a)(1) and 846; possession of a firearm in

furtherance of drug trafficking (Count Two), a violation of 18 U.S.C. § 924(c); possession of a

firearm by a convicted felon (Count Three), in violation of 18 U.S.C. § 922(g)(1); possession of

a firearm by an illegal alien (Count Four), in violation of 18 U.S.C. § 922(g)(5); and possession

of a firearm by a prohibited person (Count Five), in violation of 18 U.S.C. § 922(g)(9).

Defendant entered into a plea agreement with the United States and pleaded guilty to Count One.

(Docs. No. 34, 35).

   The probation office submitted a presentence report, assessing Defendant a criminal history

category of III based on a total of four criminal history points related to prior convictions, and an


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offense level of 33 for the methamphetamine trafficking conspiracy charged in Count One. (Doc.

No. 63). Based on Defendant’s criminal history category and offense level, the probation office

found that the Sentencing Guidelines recommended a sentence between 168 and 210 months

imprisonment. (Doc. No. 64). The Court sentenced Defendant to 210 months imprisonment, and

the Government dismissed Counts Two through Five. (Doc. No. 74).

         Defendant now asks the Court to reduce his sentence under Amendment 821 of the

Sentencing Guidelines.

   II.      Legal Standard

         Amendment 821 to the Sentencing Guidelines made two changes to chapter 4 of the

Sentencing Guidelines related to a defendant’s criminal history. See U.S.S.G. amend. 821. The

Sentencing Commission has made Part A and Part B, Subpart 1, of Amendment 821 retroactively

applicable, authorizing eligible defendants to seek a discretionary sentence reduction under 18

U.S.C. § 3582(c)(2). U.S.S.G. amend. 825; see U.S.S.G. § 1B1.10(d).

         Part A of the amendment alters Sentencing Guidelines § 4A1.1 to strike the two status

points previously assessed under § 4A1.1(d) for defendants who committed their offense while

under any criminal-justice sentence, including probation, parole, supervised release,

imprisonment, work release, or escape status. Id. pt. A. Part A adds a new subsection (e) that

adds one criminal-history point for any defendant who receives 7 or more points and who

committed his offense while under any criminal-justice sentence as described above. Id.

         Part B, Subpart 1, of Amendment 821 adds a new guideline provision to chapter four,

U.S.S.G. § 4C1.1. This new guideline authorizes a two-offense-level decrease if a defendant has

(1) zero criminal-history points, and (2) did not receive a terrorism adjustment under U.S.S.G. §

3A1.4; (3) did not use violence or credible threats of violence in connection with the offense; (4)



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the offense did not result in death or serious bodily injury; (5) the offense was not a sex offense;

(6) did not personally cause substantial financial hardship; (7) did not possess, receive, purchase,

transport, transfer, sell, or otherwise dispose of a firearm or other dangerous weapon in

connection with the offense; (8) the offense was not an offense involving individual rights

covered by U.S.S.G. 2H1.1; (9) did not receive an adjustment under § 3A1.1 (Hate Crime

Motivation or Vulnerable Victim) or § 3A1.5 (Serious Human Rights Offense); and (10) did not

receive an adjustment under § 3B1.1 (Aggravating Role) and was not engaged in a continuing

criminal enterprise, as defined in 21 U.S.C. 848. U.S.S.G. 4C1.1.

       For defendants who meet the requirements of Amendment 821, Sentencing Guidelines §

1B1.10 governs eligibility for a sentence reduction. Section 1B1.10(a)(1) authorizes a district

court generally to reduce a defendant’s sentence in any case in which a defendant is serving a

term of imprisonment and the guideline range applicable to the defendant “has subsequently

been lowered as a result” of a retroactively applicable amendment to the Guidelines.” A

defendant is not eligible for a sentence reduction if the retroactively applicable amendment “does

not have the effect of lowering the defendant’s applicable guideline range.” U.S.S.G. §

1B1.10(a)(2)(B). A court is limited to a reduction to the bottom of the amended guideline range,

after calculating the range that would have applied had the guideline amendment been in effect

when the defendant was sentenced. Id. § 1B1.10(b)(2). In calculating the amended range, “the

court shall substitute only” the retroactively applicable guideline amendment and “leave all other

guideline application decisions unaffected.” Id. § 1B1.10(b)(1). If the defendant received a

sentence below the applicable guideline range based on a motion filed by the United States for

substantial assistance, the court may reduce the defendant’s sentence to a term “comparably less

than the amended guideline range.” Id. § 1B1.10(b)(2)(B). Under no circumstances shall a



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defendant’s sentence be reduced to a term less than the term he has already served. Id. §

1B1.10(b)(2)(C).

   III.      Analysis

   Here, the probation office did not assess Defendant any criminal history points for

committing the instant offense while under a criminal justice sentence, rendering him ineligible

for reduction under Part A of Amendment 821. And Defendant was assessed more than zero

criminal history points, rendering him ineligible for reduction under Part B, Subpart 1, of

Amendment 821. Thus, Defendant is not eligible for sentence reduction under Amendment 821

of the Sentencing Guidelines. The Court will therefore deny Defendant’s motion.

                                             ORDER

          IT IS, THEREFORE, ORDERED that Defendant’s Pro Se Motion to Reduce Sentence

Pursuant to USSC Amendment 821 (Doc. No. 185) is DENIED.

                                             Signed: April 4, 2024




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